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 5       C~,~p~% ~~~-                                  (Phone Number)

 6 Plaintiff in Pro Per
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 8                                          UNITED STATES DISTRICT COURT
 9                                    CENTRAL DISTRICT OF CALIFORNIA
10                                                                    0

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                                                                                                                       1 U r v~
11                             ~arri l o                                      (To be supplied by the Clerk)
12                               Plaintiff,
13                                                                         Civil Rights Complaint Pursuant to
14       ~'1~~      ~    •i 1.              t~   ~.-~•.!    u~:.~          42 U.S.C.§ 1983(non-prisoners)
15
16                                                                         Jury Trial Demanded:             Yes ❑ no
17              tJQc~~r~r~ ~t~l~ornio_LnT~ I h~h.
18                           Defendant(s).
19
20                                               (All paragrapdts and pages must be numbered.)

21                                                      L JURISDICTION
22       1. 'This coin has jurisdiction under 28 U.S.C. § 1331 and 28 U.S.C. § 1343.
23       Federal question jurisdiction arises pursuant to 42 U.S.C. § 1983.
24
25                                                            ii [7L'l~T~'TL'


26       Z. Venue is proper pursuant to 28 U.S.C. § 1391 because ~
                                                                 i (a~~ ~}~~~'~p~j,~
27
28

         Form prepared b}' Puhlic Counsel
                                                                    Page Number
         O 20lQ 2013 Pub[rc Co:~nsel.
         All rights reserved.
         Revised: August 2013
                                             Civil Rights Complaint Pursuant to U.S.C. § 1983
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     1                                                   III. PARTIES
     2
     3    3.       Plaintiff         l.i ~ 1(l1r1Q    Isabel        Carri l In                                    resides at:
                                                        (yourfull name)
     4    5200 ~a~~-h ~' ~-cee~A~~~                                                  #~`l~X~'1Q~,~
     5
                                                           (your address)
     6
               (You should specifically ident~ each Defendant you intend to sue irc a separate, numbered paragraph.)
     7
     8    4. Defendant                                                                                         works at
                                                            name ofDefendant)
     9
10                                                   (Defendant 's place ofwork)


11
          Defendant's title or position is N~G~~~(~~U jQ~XVIGeS
12
                                                            (Defendant's title or position at place oJwork)
13       This Defendant is sued in his/her (check one or both):
14                Gd individual capacity                                           ~ official capacity
15 I~ This Defendant was acting under color of law because:~~.~~m
16
17
18
19       5. Defendant Q~~~ ,. vC~1i~p SvS~riC.e Com~ILX                                                        works at
                                                     (full name ofDefendant)
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21
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                                                   (Defendant 's place of work)

22       Defendant's title or position is ~~ ~dp                                    ~~p~~ ~,,,(,(~-~u
23                                                           (DefendanCs title or position at place of work)


24       This Defendant is sued in his/her (check one or both):
25               Ga individual capacity                                           ~ official capacity
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                                                              2.
                                                           Page Number

                                        Civil Rights Complaint Pursuant to U.S.L. § 1983
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  1    ~. Defendant v~ ["Q~
       Insert ¶ #
                                                          Me~l~c~,l Cenl-er
                                               (full name ofDefendant)
                                                                                                         works at
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 3                                            (Defendant's place ofwork)

 4
 5     Defendant's title or position is Cp~~ ~pcp
                                               ~~~~~a(',~~~
                                                       (Defendant's title or position at place ofwork)~~
 6
       This Defendant is sued in his/her (check one or both):
 7
                   ~ individual capacity                                    ~ official capacity
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 9
       This Defendant was acting under color of law because d                                   a~-4~
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      ~. Defendant ~~Q,~pf Covf~ of ('.C,t4                            rr1~~r('~~~}~n~2f~~Xa works at
17    /nsert ¶ #                              Gull name ofDefendant)                       V

18    Soo S~-h v~ c~~► ~~~,~ ve~,.~~a _ cA aaoo3 ~q~~
                                              (Defendant's place of work)
19
20    Defendant's title or position is ~`~ ~v                                                  __
21                                                    (Defendant's title or position at place of work)


22
23    This i~efendant is sued in his/her (check one or both):

24             ~ individual capacity                                        Gd official capacity

25    This Defendant was acting under color of law because ~~~P.rldCtrl-~- (~                                  _ ~

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                                  Civil Rights Complaint Pursuant to U.S.C. § 1983
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 1                                          IV. STATEMENT OF FACTS
         (Explain what happened in your own words. You do not have to cite legal aa~thorlty in this section. Be specafc about
 2              names, dates, and places. Explain what each Defendant did. Remember to number every paragraph.)

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                                          Civil Rights Complaint Pursuant to U.S.C. § 1983
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                                                            t 7 !'~T   ♦ 7A ii C'~
 1
 2                                                            Claim #1
 3 ~. Plaintiff realleges and incorporates by reference all of the paragraphs above.
     Insert ¶ #
 4
      r. _. Plaintiff has a claim under 42 U.S.C. §1983 for violation of the following
     fi
 5
   rnser~ ~ # federal constitutional or statutory civil right:
 6 \~~n\ry~.:.w~n nC ..n~. ~vr~o~►~ r ~ t1[Yj~,Dr.~.~o~. n.nnclil.^~inrn)
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 1                                                   Claim #
 2                                                   (insert Claim#)

 3 ~. Plaintiff realleges and incorporates by reference all of the paragraphs above.
     Insert ¶ #
 4
                                         .,
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             ~ ~ I, 1.                .~ • '.•
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11
     j. Plaintiff alleges the above claim against the following Defendant(s):
     ~
12   Insert ¶ #

13
14
15
                     (You may list facts supporting your claim. Re specific about how each Defendant
16       •                              violated the rights giving rise to this claim.)

17
     ~--
     Inserl ¶ #
18
19
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21
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24
        2. As a result of the Defendant's violation of the rights giving rise to this
25   inser~ ~; a claim, Plaintiff was harmed in the following way:
26
27
28
                                                           ~.
                                                       Page Number

                                  Civil Rights Complaint Pursuant to U.S.C. § 1983
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                                       VI. REQUEST FOR RELIEF
 2
 3     WHEREFORE,the Plaintiff requests:
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     Pro Se Clinic Form                            Page Number
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 1                              DEMAND FOR JURY TRIAL
 2
 3   Plaintiff hereby requests a jury trial on all issues raised in this complaint.
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                                                                             ~~


                     SUPERIOR COURT OF CALIFORNIA, COUN
                                                        TY OF VENTURA
                                     MINUTE ORDER


      CASE NO: J070593          IN THE MATTER OF JAYLEEN CARR
      DATE: 09/03/15                                          ILLO
                                  TIME: 8:30           DEPT: Jl

      JURISDICTION AND DISPOSITION; ORIG
                                         INAL PETITION FILED ON 08/05/15




      Honorable TARI L. CODY, Judge pres
                                         iding. Clerk: MARTHA LAGA3~~f
      Reporter: NICKI MORRIS                                           o_urtJ- Y

      DC Advocate present: ANDREW WOLF
                                       .
      County Counsel present: LINDA STEV
                                         ENSON.
      Human Services Agency represented
                                        by CLAUDINE ORTIZ & RbSANNA
      SALAZAR.

      LILIANA I CARRILLO present with
                                      counsel DFA-SUSAN RATZKIN.
      Also present: maternal grandfather,
                                          paternal aunt
      The court finds that the Indian Chil
                                           d Welfare Act :does not apply
      minor.                                                             to

     Mother is advised regarding his/
                                      her right to a trial.
     Mother states that he/she understa
                                        nds and waives his/her rights.
     Matter is submitted to the court base
                                           d upon the report of the social
     worker.

     Jurisdiction / Disposition Report
                                       filed.
     THE COURT FINDS/ORDERS:

     1st Amended JWENILE 300 PETN file
                                       d 08/31/15 sustained after
     uncontested hearing.

     Findings and Orders attached/inc
                                      orporated herein by reference.
     Review hearing on lst Amended JWEN
                                         ILE 300 PETN filed 08/31/15
     Petition filed 08/05/15 re: REVI
                                      EW HEARING set for 02/16/16 at
     in courtroom Jl                                                     8:30

     Issue of placement is reserved by
                                       mother
     Mother's request to be rescreened
                                       for drug court is granted




                     ~~  ~~
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        HEARING RE: PLACEMENT, PATERNITY AND STATUS
                                                    OF MOTHER'S ENTRY INTO
        DRUG COURT set for 10/05/15- at 1:30 in
                                                department J1.
        Court requests memorandum re status of place
                                                     ment be submitted by
        10-05-15

        CASA (Court Appointed Special Advocate)
                                                appointed for the minor.




       - ----------------------------------------
                                                  -----------------------------
                           Case No: J070593 09/03/15
         Case 2:17-cv-02800-JAK-AJW Document 1 Filed 04/12/17 Page 12 of 52 Page ID #:12




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 9                    SUPERIOR COURT OF THE STATE OF CALIFORNIA
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                                                 COUNTY OF VENTURA
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~z
13                                                           Case No: D 354847
     Petitioner Emanuel Cervantes                              ate: May 2 ,
14
                                                                              ND TI       ~!~
15                                                                       od      ' rtat n
     VS.

16

i~                                                           Order
     Respondent Liliana Carrillo                             re: Custody and Visitation
is
19

20

21
             The parties have one minor children; Josue Manuel Carrillo Cervantes, born 12-18-2009
22
           1. LEGAL CUSTODY
23

                         ,,,
24
                    SOLE LEGAL CUSTODY. Ivlother shall have sole legal custody of the minor children.=
25
     In exercising sole legal custody, the following provisions are ordered:
26
                    A.         General Provisions: Mother alone has- the right anal responsibility to make all
2~
     decisions relating to health, education; and welfare of the children, including but notlimited to non
2a   emergency medical t~eatment,j orthodontic care,. psychological counseling or treatment, court actions,


                                                            i
      Case 2:17-cv-02800-JAK-AJW Document 1 Filed 04/12/17 Page 14 of 52 Page ID #:14




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 z    e~rnacuri-ic~~ar actyties
 3                   B.      Emergency Health" Ca~-~: Each party shall be allowed to obtain emergency
 4    health care for the children without the consent ofthe other party. Each party shall notify the other party
 5    as soon as reasonably possible of any illness or injury requiring medical attention or any emergency,
 6    medical or otherwise, involving the children. For purposes ofthis order it shall be presumed that a party
      has the ability to inform the other party within one hour of arrival at the medical facility.
 a.                  C.      Sanctions; ~If a parent acts without obtaining the required consent ofthe other
 9    parent to decisions regarding the minor children, he or she may be subject to being found in contempt of
10    court; and/or thecourt may change the legal and/or physical custody ofthe minor children.
ii                   D.     :Access to Records: Both parties shall have access to all records pertaining to the
12    minor children, including, but not limited to, educational, medical, dental, and psychological records,
13    and be permitted to consult independently with any and all professionals involved with the children.
is    Mother and Father shall be listed as authorized persons to receive any such information directly from the
15    school, daycare, doctor, dentist's office, and hospital. It is not the responsibility of either parent to keep
16    the other informed in these areas, except as otherwise defined herein. It is each party's responsibility to
i~    request school calendars, progress reports, report cards, Paxent-Teacher conferences, and IEP meetings
is    directly from appropriate school staff, and to request any medical information, directly from any and all
19    treating physician(s), dentists) and/or practitioner(s). If a child brings home any written notice or
20    communication, the parent who receives it promptly shall provide a copy to the other parent.
21                   E.      GeneraUEmergency Contact Information:{Each party shall advise any
z2    school(s), childcare provider(s), medical practitioner(s), of the name, address, and phone numbers) of
23    the other party in any registration, enrollment, emergency notification cards or other forms in which
29    family information is requested for the minor children.
25

26       2. PHYSICAL CUSTODY
                    1 9__         -- _ .
27                   The parties shall share physical custody of the minor children in such a way so as to
zs    assure the children continuing contact vvitl~ both parents. The custodial time share.shall be as follows:



                                                             2
         Case 2:17-cv-02800-JAK-AJW Document 1 Filed 04/12/17 Page 15 of 52 Page ID #:15




     i                   A.     General Provisions: Reasonable times as agreed between the parties. All times
     z                          not designated with Father, the minor children shall be with Mother.
     3                  B.     ~Par`enting Plan: '~
     9                          a.       her shall have rofessionally su ervised visitati~ with the minor child
     5                               t   e times aer week for a m
                                                                maximum of three hours per visit.
                                                                                              ~ Days and~
                                                                                                        times r
     6                               are to be mutually agreed upon by the parties and a supervisor.
                                b. Following completion of a residential substance abusepro~am,_Fa~ther may
     a                               have non- professional supervision ofthe minor child. Father may have
 9                                   custodial time of the minor for an additional day following completion ofthe
10                                   pro .gram.
ii
12                             HOLIDAY SCHEDULE
13                      The Holiday Schedule set forth below takes precedence over the Regular Custodial
14              Schedule set forth above and the Vacation Schedule set forth below. All holidays, special
15              occasions, birthdays not specified herein shall follow the regular ongoing schedule.
16                      A.     Child's Birthday: The Father shall be with the minor child for two hours with
17       monitored visitation. Times to be mutually agreed upon by the parties and the supervisor.
is                     B.      Mother's Day and Father's Day: Father may have parenting time for three
19       hours on Father's Day. Times are to be mutually agreed upon by the parties and the supervisor..
Zo                     C.      Chrishnas Eve/Day shall be defined as commencing December 24th at 12:00 noon
21       and ending December 25th at 8:00 p.m. Father shall have three hours of visitation on either Christmas Eve
2z       or Christmas Day. The parties and supervisor shall mutually agree upon a time.
23                     SUMMER VACATION
z4                     The parties shall maintain the Regular Custodial Schedule.
25

26             3.      OTHER ORDERS
27                     A.      Transportation and Exchanges:
2s



                                                              3
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     i                           (1) The children shall be driven only by licensed and insured drivers. Any
     z    vehicle used for transportation must have legal child restraint devices (i.e., car seats, seat belts).

     3                          (2) If exchanges do not take place at school, day care, or other activity,
     a    transportation for overnight visits shall be provided by the party commencing custodial time with the
     5    children, and transportation for non-overnight visits shall be provided by the visiting parent. Father's
     6    pick-ups and drip-offs must be in the presence ofthe visitation supervisor.

                                (3) All exchanges are to be made in a peaceful fashion, without argument,
 s       sarcastic, or derogatory comments between the parties, and may be made by either the parties
 9       themselves or any other designated third party of mutual agreement. Neither party shall unreasonably
io       withhold agreement to a designated third party adult known to the minor children.
ii                       B.      Removal from State: Neither party shall remove the minor children from the
12       state of California without prior written notification to, and written consent of, the other party, or a court
13       order, except for prearranged and planned travel or vacations as set forth herein.
19                       C.      Communication: All communication between the parties shall be handled by the
                         i
15       parties themselves, or a third party of mutual agreement, and never through the use of the minor
16       children. Other than answering age appropriate questions, neither party is to discuss any aspect of this
i~ ~ case with the children.

is                      D.      Daily Health Care: Both parties shall provide to the other party any and all
19       medications) and doctor's orders prescribed for the minor children at the start of each custodial period.
Zo       At the end of said period, any unused medications) shall be returned with the minor children.
zl                      E.      Change of Residence:         Neither party may relocate the residence of the minor
2z       child outside the state of California without court order or written consent. Neither party shall change
23       the child's primary residence more than fifteen (15) miles from his/her current residence without first
29       getting written permission from the other party or giving other party at least forty-five (45) days written
25       notice to allow time for mediation or a new agreement concerning custody and visitation. If the move
26       of residence is less than fifteen (15) miles, written notice must be given immediately after the move is
2~       known to the moving party, but in any event no less than five (5)days prior to the move.
28




                                                                 4
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     i                    F.      Derogatory Comments: Neither party shall make, nor knowingly allow anyone
     2    else to make, any negative, disparaging, or derogatory comments (including, but not limited to, physical
     3    gestures, facial expressions, andlor verbal statements) about the other parent to, or within the hearing of,
     4   the minor children. This shall include, but not be limited to, family members, friends, and/or any other
     5   third party in the presence or within the hearing of the minor children.
                        .---k

     6                ~,`
                        G.
                         _~ ;~     'sed Re~ularl Scheduled Parenting Times: There is no requirement that a
         party be given additional parenting time with the children if he/she misses regularly scheduled parenting
 8 ' times, unless otherwise agreed by the parties.
 9                       H.      Court_Papers:_ Other than answering age appropriate questions, neither party is
io       to discuss any aspect of this case with the children and neither party shall knowingly permit any other
ii       person (other than a licensed therapist) to discuss any aspect ofthis case with the children.
                        -- ___~~
i2                       L ,< Updated Information:        Unless a current protective order would be violated, each
                      -~_~ ,                          -
13       party shall inform the other of his/her current address and telephone number, place of employment, any
19       schools)and/or day care providers)for the minor children, and shall notify the other, in writing, within
15       TWO DAYS of any changes.
                      - ~'~
16                       J ,-r` Extracurricular Enrichment Activities:          The parties acknowledge that the
i~       childxen will be involved in a broad range of extracurricular enrichment activities. Unless a restraining
is       order would be violated, each parent is permitted to attend these activities, whether or not it is during the
19       parent's normally scheduled parenting time with the children. Extracturicular activities that will affect
20       the other pasty's custodial time must be mutually agreed upon between the parents, but mutual
21       agreement shall not be withheld unreasonably.
22                      K.       Schedule Activities: Neither party shall schedule any activity, such as attendance
23       at birthday parties, weddings, or holiday celebrations, for the minor children that is to occur during the
24       other party's scheduled parenting time without the written agreement of the other party or further court
25       order.
                       ?~--_
26                      L  = ~Tf Special Activity Notification:
                        ~__              ~-t- T__:_       _-
                                                                Each party promptly shall notify the other of any
2~       planned special activity of the children (such as award ceremonies, performances, and/or competitions)
28       in order to enable the other party to attend.



                                                               5
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                            1
     i                    M~,Telephone/MaiVE-Mail Communications/T~~~essaging;_ The non-custodial
     2    parent shall have open telephone, mail, e-mail communications, and text messaging with the minor
     3    children during the minor children's normal waking hours. The custodial parent shall distribute to the
     4    children all cards, presents and any other sent communications from the non-custodial parent. The
     5    minor children shall have open telephone, mail, e-mail communication, and text messaging with both
     6    parents as desired and neither party shall interfere with the minor children's right to privacy during these

          communications. All calls and contacts shall be age-appropriate in both length and content. Any
 s       questions as to what constitutes "ag~prop~ate" shall be referred to a qualified child development
                                                                                                _ _. -_
                                                                                                      - --_ _
 9       specialist or family counselor of muh~al agreement for clanfication __ J
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iz             ~n art ~x~e~~e3 -                 ~          's        ~~~ ,
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1~                   ~ O.      Use of Alcohol or Drugs: ather~hall not consume alcohol or take anv unlace
                       _-~
14       drug and/or substance, or use any lawful drug not in accordance with valid d 's rescription,[or use
is       "medical marihuana" with or without a physician recommendation under anv circumstanced while a
                          ~- --~~                                            .a
16       minor child is in his/her custody, care and control, and at least 24 hours , rior to the custodiaUvisitation

17       exchange. ~
                   If.,othe other parent suspects *,hat Father is not in compliance with this Order, tre other parent
18       shall have the right to request alcohol and/or drub testing and Father shall comply with the request

19       within four (4) hours after the re uest. Request of the test shall be confirmed by the other parent by text

20       and telephone call to Mother's cell phone. .
                                                    Father shall sign any and all releases to ensure that the test
                                                     ~~=_~~~
21       results are..sent to the other parent
           _
           ~            ~                  - and/orta                                  e_ r_Court.~ BYom_=
                                                                                                       June__3
                                                                                                            ~~_2013
                                                                                                               __~ the other party shall
22       select multiple testing facilities open on Monday through Saturday, which observe during testing. The
23       parent requesting testin shall set up an account so that.t e anent requesting testing is billed directly for
                                                                                                         =—=~~.~
29       each test (or make other arrangements as required by each testing center for advance payment). Failure
25       to test shall be considered a positive test. Should the results of the test be positive, the tested party shall
          -~_.                                                                  ..-_                       -.
26       reimburse the other party for the testing fee,.#
27

28




                                                                                           6
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                  At no time shall either party allow the minor children to be in the close proximity of anyone who
          is under the influence of an unlawful drug and/or substance, and /or substance, and /or using prescripti
                                                                                                                     on
          medication not in accordance with doctor's orders.
                                                                                                                         y
     9           If either paren# suspects the other parent of being intoxicated, or-under the.influence of alcohol or
                ----~-~.v __----                                                                       ---- _ _ _ .-___
     s    drugs at the time of the exchange~a'v enforcement should be contacted to'assist as appropriate, and
                                                                                                                    the
     6    exchange maybe denied.unt~l it is.shown that the suspected party is not under the:influence ofalcohol or
     ~    other substance:
                 __        _   4
     a                    P.       ,- Su~_ervised Visitation, All parenting times with Father shall be supervised by a
 9 ~ ~ professional super ision organization. Following completion of a residential substance abuse program
io Father's visitat       rya be su ervised by a mutually agreed upon third party. All supervision shall be in
ii conformity with the Supervised Visitation Order (Form FL-341(A)) attached hereto,
                                                                                            and shall also be
                                                                                                       -- --.
12    performed in accordance with the Uniform Standards of Practice for Providers of Supervised Visitation,
13       ID      of same is also attached hereto. If supervision is to be by any person other than a professional
14       s    rvision organization, then the proposed supervisor shall be provided with a copy of this Order and
                         -~~~„E
15       with the Uniform Standards of Practice. for Providers of Supervised Visitation, and the proposed
16       supervisor shall review same and date and sign a copy of the Uniform Standards reflecting that he/she
i~       agrees to be bounder its ~rovisi~ ons~ Each party shall have a co~~ of the U rr~~andazds_of Practice
             -                                                                                        --_- -:
is       for Providers of Supervised Visitation signed b the non-professional supervisor.
19

20       The Parties were _unable to agree on all matters to resolve their differences regarding a Parenting
zi       Plan for their children, so the foregoing recommendations are made to assist the Court in that task.
22

23              I declare under penalty of perjury that the above represents my recommendation dated this 28th
29            of May,2013.
25                                                     i

26

z~                                               I~ell~ L. Anderson, M.A., MFT-I
zs                                               Child Custody Recommending Counselor ;
     Case 2:17-cv-02800-JAK-AJW Document 1 Filed 04/12/17 Page 20 of 52 Page ID #:20




 i   ///
 2   ///
 s   ///
 9   ///
 5            Pursuant to Family Code Section 3048, this Court finds as follows:"'
                                                       ., ~-n
 6                           ~1~
                             ._
                                     ' This Court has jurisdiction to make
                                                                         ~
                                                                           orders regarding child custody under the
     Uniform Child_ Custody Jurisdiction and Enfarcement Act.
 a                                                                                     __ --
                             ~2)    Notice and opportunity _. to be heard were given to the responding
                           -       ._,
 9   party/parties as provided by the laws of the State of California. ;~`
io                         (3) _.._.,_The custody and visitation rights of each party are set forth herein. ,~
ii                         (4)        A violation of this order may subject- the- party in violation to civil or
12   crimir~aI penalties; or both.
13                         (5)       -The country of habitual residence ~~f the children'is the Uriited Mates of
14      A,-

15

16

i~                                                       ORDER

is
19            To the extent that there are areas ofnon-agreement, the Court now adopts the recommendation of
20
     the Ghild Custody Recommending Counselor as to those areas ofnon-agreement and makes those
21
     Recommendations the Order of the Court.
22

23

24   Dated May 28,2013
                                                     Judge ofthe Superior Court
25

26

27

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                                                                                                                                              FL-341 A
         PETITIONER /PLAINTIFF: ~jy~q~ ~~r                        ~/~/Q~~~                         CASE NUMBER:


    RESPONDENT /DEFENDANT: Gj~ ~' ~f                            r~~'        v                       ~~~                        ~~7

                                                      SUPERVISED VISITATION ORDER
                                    Attachment to Child Cusfody and Visitation Order Attachment(form FL-341)

  1. Evidence has been presented in support of a request that the contact of ~Petitioner ~ Respondent                                 with the child(renj
     be supervised based upon allegations of
     Q abduction of children) ~ physical abuse                    drug abuse  ~ neglect
          sexual abuse        0domestic violence 0alcohol abuse ~ other (specify):

     Q Petitioner 0Respondent disputes these allegations and the court reserves the findings on these issues pending further
     investigation and hearing or trial.

 2.,                    nderFamily Code section 310Q;that the best interest of the children) requires that visitation by :-`
           Petitioner 0Respondent                must, until further order of the court, be limited to contact supervised by the persons) set
     forth in item 6 below pending further investigation and hearing or trial.

 THE COURT MAKES THE FOLLOWING ORDERS
 3. CHILDREN)TO BE SUPERVISED
    Child's name                    Birth date                                                    ~A _e_                    Sex

SoSu ~ /~~ cc~/                                        iz —/~~1f~o ~                           .3                       ~I
       ~'cc.'r.I/6 -Cer~/~~ S

 4. TYPE
    a. ~Supervised visitation                        b. ~ Supervised exchange only             c.0Therapeutic visitation

 5. SUPERVISED VISITATION PROVIDER
    a.~Professional (individual provider or supervised visitation center)                      b. ~ Nonprofessional
           F~/l~ivi,~ ~~iG~tc/ Go~I~D~r'o~.~ a~~ suhsf~lC.G .~~isL rcs.od~i~a/
 6. AUTHORIZED PROVIDER                   ~~ ~r~~-- ~O it -- ~/dfeS3jd~0~ ~~~p p~`iffier
    Name                                       Address                       Telephone

  ~/V Y ~IQD~'~,~Sr~u/.~ Str~.~tJ/S~X
    ~ Any other mutually agreed-upon third party as arranged.

 7. DURATION AND FREQUENCY OF VISITS (see form FL-341 forspeci~cs of visitation):


 8. PAYMENT RESPONSIBILITY                     Petitioner: ~O~%          Respondent:

 9. ~ Petitioner will contact professional provider or supervised visitation center no later than (date):
    Q Respondent will contact professional provider or supervised visitation center no later than (date):

 10. THE COURT FURTHER ORDERS




 Date:         M/~Y 2 ~ ~0~3                                                    ~~~r.r
                                                                                  ~~•
                                                                                                     JUDICIAL OFFICER
                                                                                                                                                 Pege 7 oT 1
  Form Adopted For Mandatory Use                                                                                                     Family Code,§§3100.3031
    Judicial Council of Catifomia                    SUPERVISED VISITATION ORDER                           Fvnerican LegalNet, Inc
                                                                                                           Mnwv.USCourtFortns.com        www.courtinfo.ca.gov
  FL-341(A)[Rev. January 7, 2003]
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       I               T'HE COURT:      And she's told you that?
       Z               THE f~a3NER _     Yes.
     3                THE COURT:        Have you asked her 'to continue to represent
     4         you?
     5                TS-i~ f~DTHE~:     Yes.
     6                T1-3E CouRT: okay.        Is there anyt~~ng else you want to
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       Case 2:17-cv-02800-JAK-AJW Document 1 Filed 04/12/17 Page 25 of 52 Page ID #:25

                                _-_"                                    _-                           Pa9e:z ofz
~A~ Narrative


10/15/2016:17:24:18 ps\roger.garcia Narrative: RP CONTACTED AND ADVISED SHE WAS THE VICTIM OF A 422/2U7 LAST
YEAR RP STATED THE DP WAS CPS SOCIAL WORKEIL I SPOKE WITH CPS WORKER PATRICIA MORA WHQ
ADVISED CPS DID TAKE AWAY RP'S CHILDREN DUE TO RP BEING AN UNFIT MOTHER I ADVISED RP TO FOLLOW
UP WITH CPS TO GET FURTHER INFO ABOUT OBTAINING CUSTODY.EMAIL SENT TO BEAT TEAlO~I
10/1/2016 s 16:52:07 pslnicole.cresostomo Narrative: 42C CARILLO LILIANA 011990 E1646240
16/15/2016:15:24:28 pslky~rstinsoria Narrative: REF POSS FORGERY AND EXTORTION DP:PATRICIA MORA RP ADV TATS
IS AN ON GOING ISSUE FOR THE LAST YEAR AND HAS OCCURED IN OXNARD AND VENTURA.RP ADV 5HE I~AS
ALREADY REPORTED ISSUES TO VPD.
     Case 2:17-cv-02800-JAK-AJW Document 1 Filed 04/12/17 Page 26 of 52 Page ID #:26



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     Case 2:17-cv-02800-JAK-AJW Document 1 Filed 04/12/17 Page 27 of 52 Page ID #:27




                      `appropriate:
~\               CLIENT RESPOlY~IBILITIES-
                 Activifv_.              Times             Freq•    _Completion Provider                  ~'Vraa
                                                                       Date
                 CounselingfMen#al Health'.Services
             <l.   Cr~nera] Counseling                               03l03720i6
                        Description
                       `I~e child ~~as screened.
                                            _.. ft~r mental health services an Q8/28~241~. A.reeomme~datior~
                        ~uas prod did to VCBH_ regarding the child's participation in counseling
                                                                                        -:       services.;
                        VCBH-shall coordinate such services should VCBH determine the.child is in need of
                        s~eciaity mental health services.:
                Healflt~CHDP Services
             1.  I-~P = CHDP~P~scal Exam                        Q3/Q3t2016
                     Description
                     The ~child~vv~ll rema, ~a:sl~te with all CHIIP exams_ and immure;nations as.required.
             2.  HEP -Periodic Dental Exani     l     Every 6 03/03/2 16
                                                      IVlonths
                     Description
                               _.. . .:
                        e chidwiil rema~n_up ~~date vvth.ail CHI3P     tai exams~d~rc~ced~res as
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             Jui ate Cam
                 SERVICE OBJECTIVES
                                __                                                       P~aiect~c3 Com~leii€rn-
                                                                                                  Date
             I. Receive;ageapproprate,chd orieuted,services,                                  03J03t20i~'
                     Description
                     Tlie child sliall recei~%e age-appropriate
                                                         _..    services that are reconm~rided,by service.
                     }professionals. the ciuld was screened for mental health issues on:(~8/28/2015 and shad
                      be:assessed-andLor.referred for specatty mental health services by VCBI=I,if deemed
                     appropriate.
                CLIENT'RESP,~~iSIBILITIES.
                Activi                              Times Erect. Completion Provider                       Wiap
                                                                          Date
                Counse~ing/~ienfal Hearth Services
             1.   Generat Counseling                             ~3l03/2016
                      Description
                      The child was screened for mental health services on 08/28/201 . A recommendation
                       vas provided to. VGBH regarding the ctuld's participation in counseling services:
                      VCBH shall coordinate such services should VCBH determine the child is in need of
                      specialty mentor health services.
                Health/CHDP Serti~ces
             1.   HEP -CHOP Physical Exam                          03f03/2016
                     Description
                     The child ~~ill remain up to date ~~ith all CHOP eaarrzs and im~~unizations as requiz-ed.




                                                                                                        r~k~ s ~r ~,
Case 2:17-cv-02800-JAK-AJW Document 1 Filed 04/12/17 Page 28 of 52 Page ID #:28




           Jayleen.Carrillo
               SERVICE OB3ECTIYFIS.                                                       P'miected
                                                                                           _.        Completion
                                                                                                              _._ .
                                                                                                   Date'
            1. Receive age appropriate,child orieaf€d seruices.                                03/(I3~201-6~
                                                                                                           _.
                     Description
                     The child shall receive age-agpr~priate services tt~at;are recommended by service.
                    professionals. The-child was screened far Fnenial ~ealt}t issues on:Q8128/2015 and shall
                    be_ assessed:andlor referred for;:spe~ialty° mental Health services by VCBH,i_f_deemed
                     appropriate.:
               CLIENT RESPONSIBILITiFS
                           _     _ _ . _._.
               Activi                            Times_ ~req. Comnle#~un Prnvider-                       Wray;
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              Counseling%Men#al I~ealth :Services
            1   Greneral Counseling                                U31Q312016
                     I~escripfion
                    the child vas screened.for,meg#ai:hea.tth services~n ~8~2812015. A __or~mendatian   _
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                     was provided to VCBH regarding the chiId's.part cipation in ~ounseI ~g services.
                       GBH. shall coordinate such.services shoui~
                                                           .. _ . _.. VCBH
                                                                      _    determine the cbiId_ is_in need
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                     specialty mental.healtli sen~ices:
               HealthlCHDP Services
            I:   -IEP - C~IDP Physical Exam                       Q3103~2D16
                     Descriptson
                     The child will remain:up to date with all CI~DP-examsand imm~nizat ~~s a~rewired.
            ~.  HEP -periodic Dental Exam         3:   E~~ery.6 tl~/fl3(201
                    ,_                                 Months:
                     I3escriprion
                     T7e child will remain'up to date with all CHDP dental:exams-:and procedures as
                     required.



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      GI~II.D{REI~~ -PARENTIS)/GUARD3ANN(S)VISITAT'IQN

           Lilian , -tea     o ,Josue 1~7 Cervan     ,Jayleen ~amlio,Ju~ette Carrillo ,Jesse R Carr~lo
             ethod                      ~                Times Frequency Seginnin~     Provider
                                                                            Rafe
           In-Pzrson                                        1     ~~4'eekIv 09/43/2015
                       Description
                       The Human Services agency shall facilitate visitation between the parent and the
                       children so long as it remains in the best interests of the children.

                       The Human Services Agency has the discretion to liberalize visitation from supervised to
                       monitored/unsupervisedi'atrernight~~teekendsl to a period not to exceed 60 days based
                       upon satisfactory case plan compliance.
    Case 2:17-cv-02800-JAK-AJW Document 1 Filed 04/12/17 Page 29 of 52 Page ID #:29

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        In-Person                                  I       Vd'~ekly ~~Iuil2415
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                     e~~~-e~ so long as it rernaiIIs ~n #fie best ingests ~fthe chi~ti~e~
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      Case 2:17-cv-02800-JAK-AJW Document 1 Filed 04/12/17 Page 30 of 52 Page ID #:30



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                                      CONTACT- ~CIHEDULE
                 _..
            SUCIAL WORKER`- GFiILD CONTACTS

              Jesse R Carrillo,Juliefte Carrillo,Jayieen Carrillo ,Josue M.Cervantes
              Meti~~                       Times. Fregnen~v Be~innin~ Date Provider.
              Tn-Person                       1:       Monthly' a9f.012015           Assigned SiJ~r
                           --
                        Description
                        The Social I~Vorker shall maintain montlily in persar~ ccrrita~t
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                                                                            ,,           _ tke cYiitd to ensure
                        safety anei wellbeing in -the home;

            SOGIA~'WORKER`— P:~iIt~NT(SUGITARDIA~N~S)`CO~TTAGT~

              _Liliana
               _        I- Carrillo
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               method..                         Times- _ Freciuencv : Bey nnin~-Date- Provider
              In-Person                              I       Monthly 09[03l201~        Assigned SW
                           De~cripfiofl
                           The assigned soei~l worker shall maintain monthly in-person contact with the gxrent:to
                           ensure the continued participation in-case plan ser~~ces. The parent shall tae offered
                           addirional _ res~~rces
                                         . ._       as needed.
                                                         _ _
              Jesus i'YI Ruiz
              1VIethad                         :Times E-re~►uenc: BeQi~nin~Date _Prcivider
             Iri-Persaxi                             }`.     Monthly ~9L0312Q~5        Assigned SW
                           DescriutioR
                           The: assigned. social worker shall maintain monthly ~person cantac~ with tie parent to_
                           ens~~ the.,continued pa~ticipat an in case pia services.. The parentsshall be offered-
                           addi~orfal re~e~uurces as neeiied_
             Emanuel Q Cervantes
             iVlethac '                         Tit(~es -Frequency Beginning Date Provider
             In-Person-                             1        Monthly 09f03/2015        4ssiQned ~UV
                          I}~scrpfon
                           The assignedsocial worker shall maintain mon#h~y in-person cc~ntaet ~~ith-the parent to
                           ensure the<cantinued participation in case plan services. The Parent shill be offered
                           additional- resources as needed.
              Yiceate Ze~teno
             Method                            Times Frequency Se€:inning Date Yravider
             FnPerson                               1        Monthly ~9f03i2015        Assigned SW
                           Description
                           Tlie assibned social worker shall maintain monthly in-person contact with the parent to
                           ensure the continued participation in case plan ser~~ic~s. The parent shall, be offered
                           additional resources as needed_




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             SdCIAL WQRKER~.CAI2~PRUVIDER CONTACTS-

               1VIe#hod                      Tunes Fs~aen~ Be~inn n~ Date Frttvicter
               In-Person                        I       ~1on#hly 09/03/2015            Assigaed SOU
                        _Descriutian
                         "fhe.assigned social r~rurker shad maintaiii'.rnant~ly ire-persfln can t with the children's
                         substitute carte provider to ea~ure-the continued appropriateness and stability ofthe
                         placement:The provider shall be offered additioua~ resources as needed.
            Case 2:17-cv-02800-JAK-AJW Document 1 Filed 04/12/17 Page 32 of 52 Page ID #:32


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  .                       _   !'articipated in the case plan develo
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                          • Agree to par[icipate in the serv
                                                             ices outlined in this case plan-
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            Case 2:17-cv-02800-JAK-AJW Document 1 Filed 04/12/17 Page 33 of 52 Page ID #:33
                                                                                                                                        FL-935
     AfiTORNEY Oft PARTY WITHOUT ATTORNEY(Name,strne bar rtum6er, anu address)or
     r^~ MFR NME"~"_ AGENCI':                                                                               FOR COURT USE ONLY
    Lt̀ ~~ ~~ CARRILLO
     2144 i,.i1I~TGLEY STREET
     OXNARD, CA 93033

     TELEPHONE NO.(Opfionaq:                             F~ ~•l~P~~►)~
    E-MAIL ADDRESS (Opfiona/):
       ATTORNEY FOR (Name):
      SUPERIOR COURT OF CALIFORNIA, COUNTY OF VENTIIR.A
           sra~Era~n~ss: 800 SOtTTH VICTORIA AVE. ,
           MAILING ADDRESS:S O O SOUTH VICTORIA AVE . ,                                                        ';~Eie~~:lf~f5.
          CfIYANDZIPCODE VENTURA, CA 93009
              BRANCH NAME HALL OF JUSTICE
                                                                                                                   '.'_~a_
          CHII..D'S NAME: LILIANA CARRILLO

             PETiTtONER: I+IL

           RESPONDENT: JESUS RUIZ


        OTHER PARENT: LILIANA CARRILLO
                  APPLICATION AND ORDER FOR APPOINTMENT OF
                                                                                                      ~JAABd~~
                     GUARDIAN AD L1TEM OF MINOR—FAMILY LAW                                                ~~ ~ ~ ~ ~
                                                 EX PARTS
       NOTE: This form is for use in #amity law proceedings with the exception of dissolution
                                                                                                    proceedings. For appointment of
       a guardian ad Gte~n in civil proceedings, use #orm 982(a)(27}. For appointment of
                                                                                              a guardian ad !item in Qrobate
      proceedings, use fiarm DE-350/GC-1Q0.
  1. I (name : MARTHA CARRILLO
                                                                                                  am the
      a.         attorney for.
                (1~ minor.
                (2~ parer# of the minor.
                (3)Q other interested person (specify name and relationship):
      b. 0 parent of the minor.
      c. Q other interested person..
      d. Q minor (answer all that apply to you):
                (1) My dafe of birth is (specify): O1 19/1990
                (2) I live with my ~ mother                father [~ legal guardian Q           o#her (specify name and relationship):
                (3) My ~oLhe~s name is (speci~y): M~RTI-iA CAR.R.ILLO
                                                                                                                   ,and her address is:
                    2144 LANGL£Y STREET, OXNARD, CA 93033
               (4) B11y fathers name is (specify): CA.RLOS MAGALLON
                                                                                                                   ,and his address is:
                    UNKNOWN
               (5) Q I f~ave a legal guardian. My legal guardian's name is (specify)
                                                                                     :                                       ,and his
                           or her address is:
                           The guardianship was established in:                          County, case no. (if known):
               (6)[] I am a dependent child of fhe juvenile court of:
                                                                                             County, case no. (►f known):
               (7)~ I am a ward of the juvenile court of:
                                                                                     County, case no. (rf Imown):
 2. f ask the court to appoint the following person as guardian ad !item for
                                                                             the minor (sfafe name, address, and felephone no.);
     MARTHA CARRILLO
     2144 LANGLEY STREET, OXNARD, CA 93033
 3. The relationship of the person listed in item 2 to the minor is
     a. QX parent
    b. Q other (specify):
4. Appointment Qf a guardian ad !item is necessary because (specify):
                                                                      I AM A MINOR AND I HAVE A BABY.. I WILE.
   BE FILING PAPERS FOR PARENTAGE, CUSTODY,
                                                                    VISITATION, AND CHILD SUPPORT.



    Q Continued on Attachment 4 (describe in defaU,, attach addifional pages
                                                                             if necessa    ry).
                                                                                                                                     Page 1 of 2
Form Approved for Opdw~al Use
 r~d~~i c~,~~a or c~~m~                     APPLICATION AND ORDER FOR APPOINTMENT OF                              Code of Cin7 Procedure, § 373;
FL-935 [New January 1, 2004)                 GUARDfAN AD LITEM OF MINOR—FAMILY LAW                                           Ferny c~a~, y 7s~s



                                                                                                            ~ 202 MMACORP wxw.atfortrs.cam
           Case 2:17-cv-02800-JAK-AJW Document 1 Filed 04/12/17 Page 34 of 52 Page ID #:34

                   .CHILD'S NAME: LILIANi~ CARRILLO                                              CASE NUMBERS:
                      PETITIONER: LILIANA CARRILLO
                     RESPONDENT: JESUS RUIZ
                   OTHER PARENT:


 5. The proposed guardian ad litem is fully competent to understand and protect fhe rights of the minor and has no interest conflicting
    with that of the minor.

 Date: 04/06/07
                                                                                                                           t
                                                                             ~.
 LILIANA CARRILLO
                               (TYPE OR PRINT NAME                                           (SIGNATURE OF APPLICANT)




                                                      CONSENT TO ACT AS GUARDIAN AD LITEM

 1 consent to the appointrnent as guardian ad litem, and agree to assume the responsibilities.


 Date: 04/06/07


 MARTHA CARRILLO
                               (TYPE OR PRINT NAME
                                                                        ►~~~a~~- ~ ~~~~
                                                                                           (SIGNATURE OF PROPOSED GUARDIAN)



                                    CONSENT TO GUARDIAN BY M[NOR 14 YEARS OF AGE OR OLDER


 I, (name}: LILIANA CARRILLO                                           , am (specify age): 17     years of age and hereby nominate
 (name): MARTHA CARRILLO                                               to be my guardian ad litem to represent my interests for the
 reasons set forth in items 4 and 5 of this application.

 Date: 04/06/07


LILIANA CARRILLO
                                (TYPE OR PRINT NAME                                       (SIGNATURE OF PETffIONER)



                                                              ORDER   []X   EX PARTE
THE COURT FINDS
It is reasonable and necessary to appoint a guardian ad litem for the person named in the application, as requested above.
THE COURT ORDERS that (name): MARTHA CARgILLO                                                           is hereby appointed guardian ad
 them of (name): LILIANA CARRILLO                                                                       for the purposes hereinabove sei
forth in item 4 of the pe4tion.
Application far an Appointment of Guardian ad Litem filed (date):
   a. 0 is denied.
   b. ~ is granted.
   c. Q is set for hearing on (date):                                   at (time):


Date:      A~n
             i t         ~ ~ ~.p4~
               1                                                                             J IC      OFFICER
                                                         '              ~      GNATURE FOLLOWS LAS      ACHMENT

FL-935 [New January 1, 2ooa~
                                              gpp~~CATION AND -ORDER FOR APPOINTMENT OF                                            w~~ 2 0~ z
                                                GUARDIAN AD LfTEM OF MINOR—FAMILY LAW

                                                                                                                 ~ zoo2 r~wco~ ,~wa~o~.~,
                Case 2:17-cv-02800-JAK-AJW Document 1 Filed 04/12/17 Page 35 of 52 Page ID #:35

                                                                                                                                                               FL-190
      ATTORNEY OR PARTY YVITHOVT ATTORNEY (Name. Slap Bei number, ind eddnss):
                                                                                                                                  PoR COURT USE ONLY
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          2~~~t L~r~gt,t.~ ST~                                                                                                              ~~~►~~~.
          Cox ~n G►~c~ c~ c~3a 33
              ELEPHONE NO.:                         ~     FAX NO. (Oyflone/1:                                                       SUPERIOR COUR
    E•MAII ADDRESS (OpdoneQ:                                                                                                             ~~1
       ATTORNEY FOR (Name):

      SUPERIOR COURT OF CALIFORNIA, COUNTY OF                                                                                         ,~UN '~ ~ 200
           STREETAODRESS:
           n~,AiuricAooRess:                     COUNTY OF VENTURA                                                                ~C~L D, PLAN~~
          CITY AND LP CODE:
                                                 800 S. VICTORIA AVE.                                                            Executive Officer at~d Clerk
                                                 ~~LNTIJI.A, CA 930Q9
              BRANCH NAME:                                                                                              ~~:    ~~ \r LI.. (~-~/ l.'~l~ ~" .t'~1       ~ ~4W




          RESPONDENT:
                                                                                                                      case NUMaea
                                  NOTICE OF ENTRY OF JUDGMENT                                                         ~         ~        O ~~

    You are notified that the following Judgment was entered on (date}:                              --
    1. Q      D(ssolution                                                            c~ ~         r~
    2. Q      Dissolution—status only                                                             4
    3. D      Dissolution—reserving jurfsdictlon over termination of marital status w domestic paMership
    4. Q      Legal separation
    5 D ~v~ii~
7. ~ Judgment on reserved issues
8. Q Other (specify):

Date:
                    ~)~ r ~~' ~~~'                                               Cleric, by _         ~-~         ' `_ f        -f - - y~ 1                . DSPutY

                                    —NOTICE TO ATTORNEY OF REGORD OR PARTY WITHOUT ATTORNEY—
Underthe provisions of Code of CivN Procedure section i952, 'rf no appeal is filed the court may. order the exhibits destroyed or
othetvulse disposed of after 60 days #rom the expiratlon of the appeal time.

~                              STATEMENT IN THIS BOX APPLIES ONLY TO JUDGMENT OF DISSOWTION
      Effective date of termination of marrit~al or domestic partnership status {specify):
      WARNING: Neither party may remarry or enter into a new domestic partnership until the effective date of the termination
      of marital or domestic partrtershtp status, as shown in this box.                     .
                                                            CLERK'S CERTIFICATE OF MAILING
  certify that I am not a party to this cause and that a true copy of the Notke of Entry of Judgment was mailed first class, postage
fully prepaid, fn a sealed envelope addressed as shown below, and that the notice was mailed
at (place): ~~~                                                  ,California, on (date):         ~~~~' "~ ~ ~~~'
               ~~~ o                                                                                                       _
Date: _                   ~ ~ ~~~'                                                   Clerk, by              ~-~   ,               ~:~ t' ~~';              ,Deputy
           Name and address of pedtfcner or peUBoner's ettamey                                   Name and address of respondent or respondent's attorney
~lcc~n G C ar r ~l,t,o                                                   —)            f j.P,sc~s Rc~ ~ Z                               ~                           ~
2 ~4W t,G,n L~ ST',                                                                     Co51 C-~e~~n ► v ~ ~~.
~x'~~~a ~,~3O3 3                                                        ~              ~o xna~d ~ G~, X303
                                                                                                           3                                           P.o• ~ a ~
                                                                                                                                                                 —1
    F°"""~~~^~~'~                                           NOTICE OF ENTRY OF JUDGMENT                                                     F~~~ss~7~~~
     F~~eu~~~r.~u~aryi,~zoos~
                           °                      (Fatuity Law—Uniform Rarentays—Custody and Support)                                              ~'
                                                                                                                                              American    ~ar0'~
                                                                                                                                                           dw.
                                                                                                                                                         leoaiN~k
                                                                                                                                                WWW.V$C.OURFOfRI6.00111
               Case 2:17-cv-02800-JAK-AJW Document 1 Filed 04/12/17 Page 36 of 52 Page ID #:36
                                                                                                                                       FL-230
   Al"fORNEY OR PAR1Y WITHOUT ATTORNEY (Name, state bar number, and eddresa):                                FOR COURT USE ONLY


          ~ ~ L~anG                        CGr r~~~~                                                                  ~~~~~
         2 ~ ~ ~~ lG rl                          ~.~-~ `~T ~                                                    ~trn~~uo~ cauRr
         , ~~a ~C ct                                ~,F          3033                                              FLED
   ATTORNEY FOR (Name):

   SUPERIOR COURT OF CALIFORNIA, COUNTY OF                                                                      JUN
                                                                                                                  ' ~ 2OO~T
     STREET ADDRESS:
                              C~~i~?TY OF VENTURA
     MAILINOADDRESS:          $OO S. VICTORIA ANTE•                                                         ~~~~L'D'~L~M~°7'
      CITY AND ZIP CODE:                                                                                    X0CliL1V8   f]gCpt ff~~ ~-+,~~~
                                                1J~NTUL:A, CA j.i~O~
           BRANCH NAME:                                                                           ~~:           `~              ~~   `e
                                                                                                                                                       i~,
         PETITIONER:             `~ `                     a ~' r' I ~ ~                                                                       ~   ~`

    :"RESPONDENT:                               ~ -
                                                                                                 CASE NUMBEF:

           DECLARATION FOR DEFAULT OR UNCONTESTED JUDGMENT                                        ~~
                                                                                                        32~ Q~S

  1. I declare that if I appeared in court and were sworn, I would testify to the truth of the facts in this declaration.
  2. I request that proof will be b this declaration and that I will not appear before the court unless I am ordered by the court to appear.
  3. All the information in the ~Petition or Complaint to Establish Parental Re/aUonshlp Q Response or Answer
     Q Petition to Establish Custody and Support           Q Response                 is true and correct.
  4. ~Respondent             and/or    ~      Petitioner   is/are  the parents) of the  minor child(ren).
  5. A Voluntary Declaration of Paternity form 0has ~ has not been s(gned regarding this child (attach a copy if available).
~~6. DEFAULT OR UNCONTESTED (Check a or ~-
     a_. ~The default9fT       the respondent- was entered or is being   requested, and 1 am not-.seeking any relief not requested In the ,~
              `Petition. _OR=--                                        -
     b. ~ The parties have stipulated that the matter may proceed as an uncontested matter without notice, and the stipulation is
               attached.
  7. ~CHILD SUPPORT should be ordered as set forth in the proposed Judgment(form FL-250).
           a. ~ Petitioner 0Respondent                    is presently receiving public assistance(TANS;thus all support should be made
                     payable to the local child support agency at (specify address):


      b. NOTE: If a support order is requested,submit a completed Income and Expense Declaration(form FL-150). or
         Financial Statement(Simplified)(form FL-i55), unless a current form is on flie. lncfude your best ~stirrsate of tie
         other party's gross monthly Income.
 8.0ATTORNEY FEES should be ordered as set forth in the proposed Judgment(form FL-250).
 9. ~ CHILD CUSTODY should be ordered as set forth in the proposed Judgment(form FL-250).
 10.E CHILD VISITATION should be ordered as set forth in the proposed Judgment(form FL-250).
 11.E REASONABLE EXPENSES OF PREGNANCY AND BIRTH should be ordered as set forth In the proposed Judgment(form
      FL-250).
 12.~ NAMES OF THE CHILDREN should be changed as set forth In the proposed Judgment(form FL-250).

 13. This declaration may be reviewed by a commissioner sitting as a temporary judge who may determine whether to grant this request
     or require my appearance.
 14. I have read and understand the Advisement and Waiver of Rights Re: Establishment of Parental Relatlonshfp (form F~-235),
     which Is signed and attached to this declaration.
 15.0 Other (specify):




  declare under penal of perJury under the laws of the State of California that the foreg    g Is true and correct.
 Date: ~j.G~,.Q

     LtL~~-~,nc~                        ~,n~~r~Ll.~                             ~
                             (TYPE OR PRINT NAME)                                              (SIGNATURE OF DEC                      P~~ ~ o~ ~

 FormAdopledforMendeloryUw
                                        DECLARATION FOR DEFAULT OR UNCONTESTED JUDGMENT                                 FemlyCod~,g4~eoo,stzo.
   Judidsl Coundl of Cetlfoml~                                                                                                         3900 N ~sq
  Fl•230(Rev. January t,zoos                     (Uniform Parentage, Custody and Support)                                     wY,~,.~o,,,,r,b.e..~.
          Case 2:17-cv-02800-JAK-AJW Document 1 Filed 04/12/17 Page 37 of 52 Page ID #:37

                                                                                                                                            FL-235
    PETITIONER: \          ~Gn                    Gr r ~ l,l.                                   CASE NUMBER:                                     ~


  RESPONDENT;           ~                        U~                                              ~✓ V2               ~Q

              ADVISEMENT AND WAIVER OF RIGHTS RE: ESTABLISHMENT OF PARENTAL RELATIONSHIP
 i. ~A1GHT TO BE REPRESENTED BY.,ALAVYYER.J ~ndexsiand That l have_tt~e right to be represented by a-lawyer of my__ ~_"
` awn choice at my_own expense,,l~J ca_nnoi afford a-~awyer;F~~an contact the Lawyer Referral Association of the local
   ~tiarassociatlonPor` the Family L`aw Facilitator for assistance.

2 RIGHT TO A TAIAL I                     derstand that I have a right to have a judge determine whether I am the parent of the children
  named in this action.

3 t,A1GHT=TO CONFRONT AND CROSS-EXAMINE WITNESSES. I understand that in a trial 1 have the right to confront
 a   nd cross-examine the witnesses against me and fo present evidence and witnesses in my own defense.

4. RIGHT TO HAVE PARENTAGE TESTS. I understand that, where the law permits, I have the right to have the court
   order parentage tests. The court will decide who pays for the tests. The court could order that I pay none, some, or all
   of the costs of the tests.
                  __
5. OBLIGATIONS.l_unde_r_stand that if I adr►iit that I am the parent of the children in this action that those children will be
   my children for legal purposes -~'`

6 WAIVER. I understand_that I am admitting that 1 am the parent of.ihe=children named in the stipulation and am giving
  up the rights stated above ~excepl~heght toan attorney if 1 have~r~~t~omey);

7 CHILD SUPPOHT~ 1 understand_th__at 1 will~ave the dury~ocontnbute to the. sup~orto~4the=childre~~amed in thls .'°-
 ~ctio~ and tfiai thisduty of support=willcontinue for each child~n~i~hobTiga~io~iisterminated by law,

8. CRIMINA_L__NON-SUPPORT. i.understand that if I willfully;fail to support the children, criminal proceedings may be t
 ginitiated against me.
                                                                                              IF 1 AM REPRESENTED BY AN
9. UNDE STANDING.                                                                             ATTORNEY, I ACKNOWLEDGE THAT MY
   a. ~Ihave read and understand the Jud merit (Uniform Parentage—                            ATTORNEY HAS READ AND EXPLAINED
        Custody and Support) (form FL-250~and this Advisement and                             TO ME THE CONTENTS OF THE
                                                                                              STIPULATION, RECITALS, AND WAIVERS,
         Waiver of Ri9hts.                                                                    AND I ACKNOWLEDGE THAT
   b. 0 I understand the translation.                                                         UNDERST/~ND THEM.
Date:~j , ~=1. ~~


   L~L' ~ ,~n(~.~ CGrt'tLLC3   (TYPE OR PRINT NAME)                                               (SIGNATURE OF DE      1]



                                                       INTERPRETER'S DECLARATION
1. The Q Petltfoner Q Respondent                  is unable to read or understand the Judgment (Uniform Parentage--Custody and
   Sup ort (form FL-250) and this Advisement and Waiver of Rights because:
   a,      his/her primary language Is (specify):
   b. Q other (speclly):

2. I certif~nder penalty of perjury under the laws of the State of California that I have, to the best of my ability, read or translated for
   the Q Petitioner Q Respondent the Judgment (Uniform Parentage—Custody and Support) (form FL-250) and this
   Advisement and Waiver of R/ghts. Q Petitioner Q Respondent said he or she understood the Judgment (Uniform
   Parenfege--Custody and Support) (form FL-250) and this Advisement and Waiver of Rights before signing them.

Date:

                               (TYPE OR PRINT NAME)                                              (SIGNATURE OF INTERPRETER)

                                                                                                                                            P~p~ 1 of 1

 Form~ro~ed~oroPeons~ua                            ADVISEMENT AND WAIVER OF RIGHTS RE:                                        F°"~y°°°''f~e°°'~'°q'
    ~°,°r`.'~~ :ry~~~z°`oaa~                     EST/xBLISHMENT OF PARENTAL RELATIONSHIP                                          "'"""'°°"''"'~°'CQOV'
                                                             (Uniform Parentage)
           Case 2:17-cv-02800-JAK-AJW Document 1 Filed 04/12/17 Page 38 of 52 Page ID #:38


                                                                                                                                                 FL~41
 _     PETIT~ONER/PLAINTIFF:~`~             ~(~I1G            G~ r I_ ~ ~                                     RENUMBER
                                                                                      O

    RESPONDENT/DEFENDANT:'                               R,         ~Z                                       ~~ ~ I O V~ S
                                        CHILD CUSTODY AND VISITATION ORDER ATTACHMENT
                                   TO 0 Flndings and OraferAfterHearin8 [~J--Jud~!ment
                                      Q Stlpulatlon and Order for Custody and/or Ylsl~adon of Ch!ldren
                                              Other (specify};
~          ~'Cus~ta' y ~G~slo~~~~:~ e~ r~t~ 'tT~~en~~'a~~~~-aw~'d~l asib~lay.
             Child's name              Data of birth       Leal custody to                                         Physical custody to
        .rte ~ ~~~ri,~t,5~ ~.~                             (person who makes decisions about                     (person with whom the child lives)
'
'                    V l Z}~~~-Y-`~C t~-             ~_ '", ealth, education. etc.)                              ~     , ~                         '1



                                                                   Q Joint legal custody                        Q Joint physical custody
2. ~Visitation
             a. Q Reasonable right of visitation to the partyr without physical custody(not appropriate in cases involving domestic
                  violence)
             b. ~ See the attached              -page document dated (specify date):
             c. ~ The patties.. will ga to media~on at(specify location):
             d:   No visita~on
             e. Q Vsitatlon for the Q petitioner Q respondent will be as follows:

                         (1) Q Weekends starting (date):
                             (The ~rrst weekend ofthe month is the first weekend with a Saturday.)
                             ~
                             ] 1st Q 2nd Q 3b Q 4th Q 5th                                           weekend of the month
                              from                                 at                       Q a.m. Q p.m.
                                         (day of week)                      (time)
                              to                              at                         Q a.m. Q p.m.
                                          (day of week)                      (time}
                             (a) Q The parents will alternate the fifth weekends, with the Q petitioner Q respondent
                                   having the inftial fifth weekend. which starts (date):

                              @)0 The peMioner will have fifth ~nreekends in Q odd Q even                                   months.

                        (2)0 Alternate weekends starting (date):
                           1~1'►e Q petitioner Q respondent wilt have the children with him or her during the period

                              from                                 at ~                     Q a.m. Q p.m.
                                          (day of week)                     (time)
                                                                            .             €~':
                              to                          ~   at                          ~ a.m. Q -p.m.
                                        (day of week)                     (Gme)
                         (3) ~ ~ Weekdays startUg (date):
                             The 0 petitioner Q respondent                            will have the dilldren with him or her during the period

                             from                                  at                      Q a.m. Q p.m.
                                         (day of weak)                      (8me)

                             to                               at                        Q a.m. Q p.m.
                                       (day of week)                      (Gme)
                        (41 ~ Other (speclty days and Bmes as wed as any addidona! resblcdons):


                                                                                                                        Q See Attachment 2e(4).
                                                                                                                                                    ~a:
F°"" "~'°"~ ~►°~°"a u~
 ,h~dldr sound acallrads               CHILD CUSTODY AND VISITATION ORDER ATTACHMENT
F1341 Rev. Januory 1~ 2006                                                                    -
                                                                                                                                   Amerkkan LeyalNek~
                                                                                                                                   rvYvw.USCourfFo~na.com
  Case 2:17-cv-02800-JAK-AJW Document 1 Filed 04/12/17 Page 39 of 52 Page ID #:39


   _    PETITIONER/PUUNTIFF: 1,~         ta n~ ~              a r r ~ t,~~                          ~E NUMBER

    RESPONDENTlDEFENDANT: J,QS
                                            V          RV IZ                                         O      2,1

  3. ~ Supervised visitation. Until Q further order of the court Q other (specify):
       the ~ petitioner Q respondent will have supervised visitation with the minor children accoMing to the schedule
       set forth on pegs 1.(Ybu must attach form FL-341(A).)

  4. Q Transportation for vlsltadon
              a. Q Transportation to the visits will be provided by the Q petitioner Q respondent
                                                                        Q other (speclfj~:
              b.0 Transportation from the visfts will be provided by the Q petitioner Q respondent
                                                                         D other(specHy):
              a Q Drop-oif of the children will be at (addr+ess):
              d• Q Pick-up of the children will be at(address):
              e.0 The children will be driven only by a licensed and Insured driver. Tha car or truck must have legal child restraint
                   devices.
             f.    During the exchanges,the parent driving the children will wait In the car and the other parent will wait in his or her
                   home while the children go between the car and the home.
             g.    Other (specify):




 5. ~ Travel with children. The Q petitioner ~,          respondent Q other(name):
      must have written permission from the~otherpare►rt~or a courtorder to take the children out of
      a ~- the state of California.
      b, ICI... the foliuwing.courrtfes (specify):. ~~~v Y~ ~ ~ov ri~~ ,
      c. ~ other places (specify):



 6. 0 Child abduction prevention. There fs a risk that one of the parents will take the children out of California without the other
      parent's permission. Form FL-341(8) is attached and must be obeyed.

 7. 0 Holiday schedule. The children will spend holiday time as listed in the attached Q form FL-341(C)
      Q other (specify):
 8: Q Additlonal custody provisions. The parents will follow tha additional custody provisions Iisted in the attached
      Q form FL-341(D) Q other (specify):

9. ~ Joint legal custody. The parents will share joint legal custody as listed in the attached Q form FL-341(E)
     Q other (specify):

10. O Other (specify):




                                   ~ -
11. Jurisdiction. This court has Jurisdiction to make child custody orders in this case under the Uniform Child Custody Jurisdiction and
    Enforcement Act (part 3 of the California Family Code, commencing with section 3400),
12. Notice and opportunity to be heard. The responding party was given notice and an opportunity to be heard, as provided by the
    taws of the State of California.
13. Country of habitual residence. The country of habitual residence of the child or children In this case is
    ~f the United States Q other (specify):
14. Penaltlea for vtolati~~ this order. If you vlolate.this order, you may be subJect to civil or criminal penalties, or both.

FL3~1(Rev. Jamey 1, zoos
                                   CHILD CUSTODY AND VISITATION ORDER ATTACHMENT                                                 P'o' 2 °~~
           Case 2:17-cv-02800-JAK-AJW Document 1 Filed 04/12/17 Page 40 of 52 Page ID #:40




.....   PETITIONER/PLAINTIFF:'  ~ ~ ~ ~aRa                Ga < < ~ ~ ~a                         ~~ NUMBER

     RESPONDENT/DEFENDANT:.                                                                    ~~~`i1 / _ C
              OTHER PARENT:                           ~ ~Z,                                        V V J

                                    CHILD SUPPORT INFORMATION AND ORDER ATTACHMENT
            Attachment to 0Findings a                 Order After_ Baring ~ Restraining Order After Hearing(CLETS)
                                                        ud~ment.; ~ Other
THE COURT USED THE FOLLOWING INFORMATION IN DETERMINING THE AMOUNT OF GHILD SUPPORT:
7.~.A printout of a t;omputer calcuiatfo~ and findings is attached and incorporated in this order for al! required items not filled out.-
          below.
2.[~ Income                                                    Gross monthiv        Nit monthly                 e'v
          a. Each parents monthly income is as follows:            income              income              TANFlCaIWORKS
                                        petitioner/plaintiff: ~ ~-                  $                        Q
                                 respondenUdefendan~ S 1 ~ $00 ~ —                  $
                                             other parent 3                         $                        Q
          b. Imputation of income. The court finds that the Q petibonedplalntiff Q respondenUdefendant
                                                                 Q other parent          has the capacity to eam:
             ~                 per.                    and has based the support order upon this imputed income.
3.~ Children of Thfs Relatlonshfp
      ,~,,:a,_ Number.of children v~rho are the subjects of the support-order(specify):
                                                                                      Rk r
                                                                                                       °!o
                                                                 spon en e e          ~                °~b
                                                              other parent
 4. Q Hardships
        Hardships for the following have been allowed fn calculating child support:
                                                   petitioner/      resnondenU                              Anaroximate ending Hme
                                                    l
                                                    paIntlff        defendant       other parent            fo:,the hardship
        a. Q Other minor diiidren:                 $               $                S.
        b.~ Eactraordinary medipl expenses: $                      S                ~
        c.0Catastrophic bsses:                     S               S                S
  _     ~~                _
'THE COURT OI~D~R~
 5,Q Low-Income Ad)ustmern
        a. Q The low-income adjustment applies.
        b•0The low-income adjustment does not apply because (specify reasons):


6.~ Ch11d Sgpport
    a. Base child support
      0 Petitioner/plafntift ~ Respondent/defendaM Q Other parent                          must pay child support begfnni~g
      (date):S—J—O ~ and oonUnufng untN_further order of the ooart, ar urt~l the child marries, dies,Is emancipated, reaches
       age 19,or reaches age 18 and is not afull-time high school student, whichever occurs first,as follows:
     . G~(Id~ name                        Date of birth              Monthiv amount                     Payable to[namel
     r~sse~~~~z~.'~~                  ~~o          I 2-=20~~                  ~~3~1~ r ~_                  - ~~ L~'c~,~o~ Cr~rr,i.~al p-~~
                                                                                                                                         li
                Payable ~ on the 1st of the month        (~-ane•half on the'1st and one-half on the 15th of the month
                       0other(specify):
       :~~b:.
                                                                                    necessary Job training.
                                                     tl - -            ~-or tota~ or 0 S              # per month child-care costs.
                                   Respon e        endant must paySa%~i total or ~ ~                    per month child-care costs.
                                   Other parent must pay:              % of total or 0 $                per month child-care tests.
                                   Costs to be paid as fopows (specify):

                                                      THIS /S A COURT ORDER.                                                     P~~ ~ d Z
          ~a         'h'       CHILD SUPPORT INFORMATION AND ORDER ATTACHMENT                                        F~'~
                                                                                                                        . '
  a3t2 Rev. ~hry t.2001
                                                                                                                      Amerban LepNNsl, Ine.
                                                                                                                      www.U3CourtForm~.com
   Case 2:17-cv-02800-JAK-AJW Document 1 Filed 04/12/17 Page 41 of 52 Page ID #:41


        PETITIONER/PLAINTIFF: ~,.~ L IG~CX C~O~ r C \ L L.D                                       case Nun~e~►t
     RESPONDENT/DEFENDANT:
              OTHER PARENT: ~             R   L                                                   ~       2~O
                _aT
    E COURT..f=U HER ORDER
  6 b. `~ ~Rdatory add~lo, ~~ °sup~~t!(~ontl~ued
        (2j~      `~e~'nable n               . mo„,o~~ s~~o,~     I)dren ,~
                k                    p~        a~      _~~- Q,~    of total . or Q $                               per month.
                      RespondenUdefendant must pay:. S'~ %of total or ~ ~                                          per month.
                  0 Other parent must pay:                      °~ of total or ~ ~                                 per moth.
                  0 Costs to be paid as follows (spedfy};
    c. Q Additional child support
             (1) ~ Costs related to the educational or other special needs of the children
                    Q Pe~tloneNplaintiff must pay:                 % of total or [~ $                                 per month.
                    ~ RespondenUdefendant must pay:                % of total or ~ $                                  per month.
                    0 Other parent must pay:                       % of total or ~ $                                  per rrwnth.
                    Q Costs to be paid as folbws (specify):
             (2) ~ Travel expenses for visitatbn
                    Q PetitioneNplaintitf must pay:               % of btal or Q ~                                    per month:
                    0 RespondenUdefendant must pay:               % of total or [~. S                                 per month.
                    ~ Other parent must pay:                      9~0 of total or ~ $                                 per month.
                          Costs to be paid as follows (speafyJ:

                                                                                Total child support per month: $ '3 ~               ~~
 7. Health-Care E~cpenses~~                                                                '
    a. Haalth k►surance coverage for the minor children of the parties must be maintained by the
       Q petitioneNplaiMiff Q . respondent/defendant Q . other parent.                    if available at no or reasonable cost through
        their r~espective places of empbyment orself-employment. Both parties are ordered to cooperate in the presentation, collection,
       and reimbursement of arty health-care ctai~.
    b. Q Health insurance is not available to the - Q petitionedplaintiff 0 respondenUdefendant Q other parent
       at a reasonable cost at this time.
    c. Q The party providing coverage must assign the right of reimbursement to the other early.
8. Earnings Assignment
   An Order/NoSce fo Withhold income for Child Support (form FL-195) must issue. Note: The payor of chtid support is responsible
   for fhe payment of support directly to the recipient until support payments are deducted from the payor's wages, and for any
   support not paid by the assignment.
~= C] NomGuldellne Order                         .
      This order does not meet the child support guideline set forth in Family Code section 4055. ANon-Guideline Child Support
      Findings Attachment (form FL-342(A)) is attached.
10.0 Employment Search Order (Family Code, § 4505)
     Q Petitioner/plaintiff Q RespondanUdefendant Q Other parent                           is ordered to seek employment with the
     following terms and c~onditiens:
11.Other Orders (specify):

12. Required Attachments
    A Notke of Rights and Responsibilities—Health Care Costs and Reimbursement Procedures and Information Sheet on Changing
    a Child Support Order (form FL-192) must be attached and is incorporated into this order.
13. Child Support Case Registry Form
    Both parties must complete and file with the court a Child Support Case Registry Form (form FL-191) within 10 days of the date of
    this order. Thereafter, the parties must notiry the court of any change in the information submitted within 10 days of the change by
    filing an updated form.            =                  `
     NOTICE: Any party required to pay child support must pay Interest on overdue amounts at the legal rate, which
     Is currently 10 percent per year.

                                                       THIS IS A COURT ORDER.
F~~~~~.~+~v+,~e~                CHILD SUPPORT INFORMATION AND ORDER ATTACHMENT                                                     P■o~=a2
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Case 2:17-cv-02800-JAK-AJW Document 1 Filed 04/12/17 Page 43 of 52 Page    IDz
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Case 2:17-cv-02800-JAK-AJW Document 1 Filed 04/12/17 Page 44 of 52 Page ID #:44




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             Middle Name.1ENNEVtVE R SE

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            Father Detait



            First Name.          JAIME

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            Last Name:           GARLIA

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           Address t1nQ 1:44U7 W 121ST ST

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          State:                 ~ALI~dRNIA

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          Mother E3etait



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Case 2:17-cv-02800-JAK-AJW Document 1 Filed 04/12/17 Page 45 of 52 Page ID #:45



           55N:               XXX-XX-XXXX

           Address Line 1: 4947 W 12ISTST

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           City:              HAWTHORNE

          State:             CALIFQR~fIA

          Zip Code:          90250

          Child Piace of Brrth

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                            County   LQS ANGELES
          place of Birth:
                            Hospital: T'dRRAivCE MEMORIAL MED CENTER, 636

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         IAtitnessir~g Agency Countyr_ LOS ANGELES -              ~ .-._       _.__._.._._ .   _. _._ _.   --
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Case 2:17-cv-02800-JAK-AJW Document 1 Filed 04/12/17 Page 48 of 52 Page ID #:48
          Case 2:17-cv-02800-JAK-AJW Document 1 Filed 04/12/17 Page 49 of 52 Page ID #:49

                                           UNITED 54hTE5 DISTRICT COURT,CENTRAL DISTRICT OFi.~~IFORNIA
                                                                CIVIL COVER SHEET
                                                                                                                                       0R i G i N A L
     I.(a)PLAINTIFFS (Check box if you are representing yourself ~)                  DEF      DANTS         (Chet box if you are representing yourself                 )
                                                                                             ~~u~a~+re~ ~,
                                                                                     v ~~tn~~                                                    ur
                                                                                                                                                  ~C~ ~
                                                                                                   S~ptl'to~ Ceor~o~C GW~'~r a~Gov/~                                   VG1{,~
   (b) County of Residence of First Listed Plaintiff                                County of Residence of First Listed Defendant
   (EXCEPTIN U.S. PLAINTIFF CASES)
                                                                                    (1N U.S. PLA/NTIFFCASES ONLY)
   (c) Attorneys(Firm Name,Address and Telephone Numbed If you are                  Attorneys(Firm Name,Address and Telephone Number) If you are
    re resentin yourself, provide the same information.                             representing yourself, provide the same information.
                             ~iowr~i~b
   5~~*15oo~h~
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   11. BA515 OF JURISDICTION (Place an X in one box only.)                 III. CITIZENSHIP OF PRINCIPAL PARTIES-For Diversity Cases Only
                                                                                (Place an X in one box for plaintiff and one for defendant)
        1. U.S. Government               3. Federal Question (U.S.                                    PTF      DEF                                          PTF DEF
                                                                           Citizen of This State      ❑ ~     Incorporated or Principal Place
        Plaintiff                                                                                              ❑ 1                                          ~ 4 ~ 4
                                         Government Not a Party)                                              of Business in this State
                                                                           Citizen of Another State   ~ z ~ Z Incorporated and Principal Place              ❑ 5 ~ 5
      ~ 2. U.S. Government                                                                                    of Business in Another State
                                     ~4. Diversity (Indicate Citizenship   Citizen or Subject ofa
        Defendant                                                                                       3   3 Foreign Nation
                                      of Parties in Item III)              Foreign Country                                                                  ~ 6 ~ 6

   IV.ORIGIN (Place an X in one box only.)
        7.Original    2. Removed from ❑ 3. Remanded from ❑ 4. Reinstated or  5. Transferred from Another ❑ 5. nnultidistria                           s. nnu~tidistria
          Proceeding ~ State Court        Appellate Court    Reopened                                         Litigation -                       ~       Litigation
                                                                            ~ District (Specify)              Transfer                                   Direct File

  V.REQUESTED IN COMPLAINT: JURY DEMAND: ~ Yes ~ No (Check "Yes" only if demande
                                                                                 d in complaint.) cx,p~~
  CLA55 ACTION under F.R.Cv.P.23: ~Yes ~ No                                                       ~i
                                                  [~J MONEY DEMANDED IN COMPLAINT: S~~~~`~,~~
  VI. CAUSE OF ACTION (Cite the US.Civil Statute under which you are filing and
                                                                                  write a brief statement of cause. Do not cite jurisdictional statutes unless



  VII. NATURE OF SUIT (Place an X in one box only).
      dTHER57AME5                    CONTRA[T      RERL PROPERTXCONT.           IMRAIGRAYION        PgISONER PETiTfaNS                        PRDI~E~FFTY ~GHTS
      375 False Claims Ad    ❑ ~ ~0 Insurance      ~ 240 Torts to Land     ~ 462 Naturalization        Habeas Corpus:                 ~ 820 Copyrights
                                                                               APPlication
     376 Qui Tam            ~ 120 Marine           ❑ 245 Tort Product                            Q 463 Alien Detainee                 ~ 830 Patent
                                                       Liability              465 Other
    (37 USC 3729(a))                                                                                 570 Motions to Vacate
                                130 Miller Act    ~ 290 All Other Real     ~ Immigration Actions ❑ Sentence                           ❑ 840 Trademark
     400 State                  140 Negotiable         Proper ty                     Tp~         ~ 530 General
     Reapportionment                                                                                                                      . $~~q~:5~~~7y
                            ❑ Instrument                   STS             P~R5; liL PROPERTY ~ 535 Death Penalty
     410 Antitrust                                 'PERSONI~L INJURY, ~                                                               ~ g61 HIA(1395f~
                                150 Recovery of                               370 Other Fraud
                                               &  ~ 370 Airplane                                             Other:                   ~ 862 Black Lung (923)
 ❑ 430 Banks and Banking ❑ ~focey                                         ~ 371 Truth in Lending ❑ 540 Mandamus/Other
                                        ent o                                                                                         ~ g63 DIWC/DIWW(405(g))
    450 Commerce/ICC            Judgment          ~   375 Airplane
                                                      Product Liability
     Rates/Etc.                                                           ~ 380 Other Personal ❑ 550 Civil Rights                    ~ 864 SSID Title XVI
    4 60 De   ortation     ❑    151 Medicare   Ad     320 Assault Libel &     Property Damage
 ❑          P                                                                                        555 Prison Condition
                                                  ~ Slander                                      ~                                   ~ 865 RSI (405(g))
    470 Racketeer Influ-        152 Recovery of                              3S5 Property Damage     560 Civil Detainee
 ❑ enced &Corrupt Org. ❑ Defaulted Student            330 Fed. Employers' ❑
                                                  ❑ Liability                product Liability   ❑ Conditions of
                               Loan (Exd. Vet.)                                gp~KR~p~~y            Confinement                         F~~~`~~~~
 ❑ 480 Consumer Credit                            ~ 340 Marine                 >.                                                      870 Taxes(U.S.Plaintiffor
 ❑ 490 Cable/Sat N             153 Recovery of                            ~  422 APPeal 28        FOKI~EttUR~7~EFTgLTY               ❑ Defendant)
                              Overpayment of          345 Marine Product
                                                  ❑ Liability                USC 158
                                                                                                                                       7609R5-Third Party 26 USC
                              Vet. Benefits                                                      ❑ SeiuDre of Prloperty 21
    modte/Exlchange                               ~ 350                      USCW~~drawal 28                                         ~
                              7560 Stockholders'          Motor Vehicle   ❑                         USC 881
    890 Other Statutory                               355 Motor Vehicle     [                       690 Other
                                                                                 11flL RIGHTS
    Actions                                       ~ ProdudLiability
   891 Agricultural Acts   ❑ ~o~~a~~              ~ 360 Other Personal I~ ~0 Other Civil Rights
   893 Environmental                                 injury               ~ 441 Voting              ~~0 Fair~Labor Standards
                              195 Contract           362 Personal Injury- ~                     ~ Act
   Matters
                             Product Liability    ~ Med Malpratice          ~2 Employment       ~ 7Z0 Labor/Mgmt.
   895 Freedom of Info.
   Act                     ❑ 196 Franchise           365 Personal Injury-
                                                    Product Liability
                                                                            443 Housing/
                                                                          ~ Accommodations
                                                                                                    Relations
                                                                                                ~  740  Railway Labor Act
   896 Arbitration          ~~p~QPERT'r             367 Health Care/        445 American with
                             270 Land               Pharmaceutical        ❑ Disabilities-       ~  751  Famil Y and Medical
  899 Admin.Procedures ~                                                    Employment             Leave Ad
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  Agency Decision .          zz0 Foreclosure        Product Liability       446 American with   ~ 790 Other Labor
                                                    368 Asbestos          ~ Disabilities-Other     Litigation
  950 ConstitutionalitY of   230 Rent Lease & ❑ Personal
  State Statutes                                              Injury        4qg   Education        ~9~ Employee Ret. Inc.
                           ~ E~ectment              Pro ud Li bill        ~                     ~ Security Act

~OR OFFICE USE ONLY:                  Case Num ber.                        ? ~                ~ a
CV-71 (07/76)                                                        CIVIL COVER SHEET                                                               Page 1 of 3
          Case 2:17-cv-02800-JAK-AJW Document 1 Filed 04/12/17 Page 50 of 52 Page ID #:50

                                            UNITED 5 ~ HTES DISTRICT COURT,CENTRAL DISTRICT OF ~.,LIFORNIA
                                                                   CIVIL COVER SHEET

  VIII. VENUE: Your answers to the questions below will determine the division of the Court to which this case will be initially assigned. This initial assignment is subject
  to change,in accordance with the Court's General Orders, upon review by the Court of your Complaint or Notice of Removal.
  QUESTION A: Was this case removed
 from state court?                                                STATE CASE WASPENDINGlN THE COUNTY OF.                                _    ~NtTIA,t D1VI510N IN CACQ 15:
                Yes ~ No
                                                  Los Angeles, Ventura,Santa Barbara, or San Luis Obispo                                                Western
 If"no,"skip to Question B. If "yes;'check the
 box to the right that applies, enter the      ❑Orange                                                                                                 Southern
 corresponding division in response to
 Question E, below,and continue from there. ❑ Riverside or San Bernardino                                                                                Eastern



 QUESTION B: Is the United States, or 6.7. Do 50% or more of the defendanu who reside in                     YES. Your case will initially be assigned to the Southern Division.
 one of its agencies Or employees,a   the district reside in Orange Co.?                                   ~ Enter "Southern" in response to Question E, below,and continue
 PLAINTIFF in this action?                                                                                   from there.
                                      check one ofthe boxes to the right ~~
               ~ Yes ~ No
              i                                                                                            ~ NO. Continue to Question B.2.

                                                 B.2. Do 50% or more of the defendants who reside in         YES. Your case will initially be assigned to the Eastern Division.
 If"no,"skip to Question C. If "yes," answer     the district reside in Riverside and/or San Bernardino    ~ Enter "Eastern" in response to Question E, below,and continue
 Question 6.1, at right.                         Counties? (Consider the two counties together.)             hom there.
                                                 check one ofthe boxes to the righ[                          NO. Your case will initially be assigned to the Western Division.
                                                                                      ~~                   ~ Enter"Western" in response to Question E, below,and continue
                                                                                                             from there.

 QUESTION C: Is the United States,or C.1. ~0 5v%or more of the plaintiffs who reside in the   YES. Your case will initially be assigned to the Southern Division.
 one of its agencies or employees,a  district reside in Orange Co.?                         ~ Enter "Southern" in response to Question E, below,and continue
 DEFENDANT in this action?                                                                    from there.
                                     check one ofthe boxes to the right
             r j Yes ~ No
                                                                                            ~ NO. Continue to Question C.2.

                                                 C.2. Do 50% or more of the plaintiffs who reside in the   YES. Your case will initially be assigned to the Eastern Division.
If"no,"skip to Question D. If"yes," answer       district reside in Riverside and/or San Bernardino      ~ Enter"Eastern" in response to Question E, below,and continue
Question C.7,at right.                           Counties? (Consider the two counties together.)           from there.
                                                 checkone ofthe boxes to the right    ~~                        NO. Your case will initially be assigned to the Western Division.
                                                                                                                Enter "Western" in response to Question E, below,and continue
                                                                                                                from there.
                                                                                                           A.                        :
                                                                                                                                     r 6:                             C.
                                                                                                                               Riverside or San           Los Angeles, Ventura,
QUESTION D: Location of plaintiffs and defendants?
                                                                                                   Orange County              Bernardino Cau~ty.          Santa Barbara, or San
                                                                                                                                                           Luis{3bispb County
Indicate the locations) in which 50% or more of plaintiffs who reside in this district
reside. (Check up to two boxes,or leave blank if none of these choices apply.)
Indicate the locations) in which 50% or more of defendants who reside in this
district reside. (Check up to two boxes,or leave blank if none of these choices
a pply)

               D.1. Is there at least one answ           m Column A?                                      D.2. Is there at least one answer in Column B?
                                      Yes ~                                                                                ~ Yes            ~ No

                   If"yes," your case will initially be assigned to the                                     If "yes," your case will initially be assigned to the
                               SOUTHERN DIVISION.                                                                         EASTERN DIVISION.
    Enter "Southern" in response to Question E, below,and continue from there.                              Enter "Eastern" in response to Question E, below.
                        If"no," go to question D2 to the right.       ~~                             If "no," your case will be assigned to the WESTERN DIVISION.
                                                                                                           Enter "Western" in response to Question E, below.               J,


QU~S~'f01'V E: Initial Division?                                                                                      INITfRL DIVISlQN1~f CRCD

Enter the initial division determined by Question A, B, C, or D above: ~~

QUEST{UN.F;Nartherrt Counties?
Do 50% or more of plaintiffs or defendants in this district reside in Ventura,Santa Barbara, or San Luis Obispo counties?                        [~ Yes             ~ No
CV-71 (07/76)                                                                 CIVIL COVER SHEET                                                                 Page 2of3
        Case 2:17-cv-02800-JAK-AJW Document 1 Filed 04/12/17 Page 51 of 52 Page ID #:51
                                            UNITED S ~ r~TES DISTRICT COURT,CENTRAL DISTRICT OF ~.,LIFORNIA
                                                                    CIVIL COVER SHEET

  IX(a). IDENTICAL CASES: Has this action been previously filed in this court?                                                                 ~ NO                       YES

          If yes, list case number(s):

  IX(b). RELATED CASES: Is this case related (as defined below)to any civil or criminal cases) previously filed in this court?
                                                                                                                                                      NO                 YES
          If yes, list case number(s):


         Civil cases are related when they(check all that apply):

                     A. Arise from the same or a closely related transaction, happening, or event;
                     B. Call for determination of the same or substantially related or similar questions of law and fact; or
                     C. For other reasons would entail substantial duplication of labor if heard by differentjudges.

         Note: That cases may involve the same patent,trademark,or copyright is not,in itself, sufficient to deem cases related.



         A civil forfeiture case and a criminal case are related when they(check all that apply):

                     A. Arise from the same or a closely related transaction, happening,or event;

                     B. Call for determination of the same or substantially related or similar questions of law and fact; or
                     C. Involve one or more defendants from the criminal case in common and would entail substantial duplication of
                     labor if heard by differentjudges.


 X. SIGNATURE OF ATTORNEY
(ORSELF-REPRESENTED LITIGANT):                                                                                                     ~'         ~ ~.r                 ~'
 Notice to Counsel/Parties: The submission of this Civil Cover Sheet is required by Local Rule 3-1. This Form CV-71 and the information contained herein
 neither replaces nor supplements the filing and service of pleadings or other papers as required bylaw,except as provided by focal rules of court. For
 more detailed instructions, see separate instruction sheet(N-071 A).




Key to Statistical codes relating to Social Security Cases:

     Nature of Suit Code       Abbreviation                    Substantive Statement of Cause of Action
                                                   All claims for health insurance benefits(Medicare) under Title 18,Part A,of the Social Security Ad,as amended. Also,
        861                        HIA             include claims by hospitals, skilled nursing facilities, etc.,for certification as providers of services under the program.
                                                  (42 U.S.C. 1935FF(b))

        862                        BL              All claims for "Black Lung" benefits under Title 4,Part B,ofthe Federal Coal Mine Health and Safety Ad of 1969.(30 U.S.C.
                                                   923)
                                                   All claims filed by insured workers for disability insurance benefits underTitle 2 of the Social5ecurity Act, as amended;plus
        863                       DIWC
                                                   all claims filed for child's insurance benefits based on disability:(42 U.S.C.405(g))

                                  DIWW             All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security Ad,as
       863
                                                   amended.(42 U.S.C.405(g))

                                                   All claims for supplemental security income payments based upon disability filed under Title 76 of the Social Security Ad,as
       864                        SSID
                                                   amended.

       865                        R51              All claims for retirement(old age)and survivors benefits under Title 2 ofthe Social Security Act,as amended.
                                                  (42 U.S.C.405 (g))




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           Case 2:17-cv-02800-JAK-AJW Document 1 Filed 04/12/17 Page 52 of 52 Page ID #:52




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